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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


 TAYLOR FORCE, et al.,

                Plaintiffs,

        v.                                                 Civil Action No. 16-1468 (RDM)

 ISLAMIC REPUBLIC OF IRAN, et al.

                 Defendants.



                                             ORDER

       For the reasons stated in the accompanying Memorandum Opinion, Dkt. 126, it is hereby

ORDERED that judgment is entered in favor of the Plaintiffs identified in Exhibit A and against

Defendants, jointly and severally, in the total amount of $171,403,803 for compensatory

damages, and that each such Plaintiff is entitled to the damages listed in Exhibit A. It is further

ORDERED that, in addition to the compensatory damages listed in Exhibit A, the Plaintiffs

identified in Exhibit A are entitled to an award of punitive damages in the amount of

$342,807,606 to be apportioned relative to their individual compensatory awards.

       SO ORDERED.

                                                      /s/ Randolph D. Moss
                                                      RANDOLPH D. MOSS
                                                      United States District Judge


Date: July 27, 2022
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      Exhibit A
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                      Pain and Suffering –
                      Physical Injuries and                             Total With
                      Emotional/Psychologi    Economic   Prejudgment   Prejudgment
                      cal Distress Damages      Loss       Interest      Interest
                       / Solatium Damages
 Estate of Taylor           $1,000,000        $584,230    $295,557      $1,879,787
       Force
    Stuart Force           $6,250,000             -       $1,823,287    $8,073,287
    Robbi Force            $6,250,000             -       $1,823,287    $8,073,287
 Kristin Ann Force         $3,125,000             -        $911,643     $4,036,643
Estate of Richard          $1,500,000             -        $463,482     $1,963,482
       Lakin
Micah Lakin Avni           $6,250,000             -       $1,931,175    $8,181,175
   Manya Lakin             $6,250,000             -       $1,931,175    $8,181,175
Estate of Avraham          $1,000,000            -         $693,931     $1,693,931
   David Moses
   Rivka Martha            $7,250,000         $139,880    $5,106,150   $12,496,030
       Moriah
  Naftali Andrew           $7,250,000         $778,686    $5,254,812   $13,283,497
       Moses
   David Moriah            $6,250,000             -       $4,337,067   $10,587,067
        N.M.               $3,125,000            -        $2,168,533    $5,293,533
        C.M.               $2,500,000            -        $1,734,827    $4,234,827
       Z.G.M.              $3,125,000            -        $2,168,533    $5,293,533
      O.D.M.               $2,500,000            -        $1,734,827    $4,234,827
        A.M.               $2,500,000            -        $1,734,827    $4,234,827
 Elisha Dan Moses          $3,125,000            -        $2,168,533    $5,293,533
   Aviad Moriah            $3,125,000            -        $2,168,533    $5,293,533
   Chagit Gibor            $3,125,000            -        $2,168,533    $5,293,533
       Moriah
Eitan Yoel Moriah          $3,125,000            -        $2,168,533    $5,293,533
   Yifat Moriah            $3,125,000            -        $2,168,533    $5,293,533
Atara Nesia Moriah         $3,125,000            -        $2,168,533    $5,293,533
  Naftali Shitrit          $8,000,000            -        $5,551,445   $13,551,445
Gila Rachel Shitrit        $3,125,000            -        $2,168,533    $5,293,533
  Yaakov Shitrit           $3,125,000            -        $2,168,533    $5,293,533
    Meiri Shitrit          $1,562,500            -        $1,084,267    $2,646,767
   Oshrat Shitrit          $1,250,000            -         $867,413     $2,117,413
        N.S.               $1,562,500            -        $1,084,267    $2,646,767
        Y.S.               $1,250,000            -         $867,413     $2,117,413
        A.S.               $1,250,000            -         $867,413     $2,117,413
        E.S.               $1,250,000            -         $867,413     $2,117,413
        H.S.                   $0                -            $0            $0
